                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                               DOCKET NO. 3:07-CV-00458-FDW
                                  (3:94-CR-00017-FDW-11)


 EDWARD HAROLD SAUNDERS, JR.,                     )
                                                  )
                 Petitioner,                      )
                                                  )
         vs.                                      )                   ORDER
                                                  )
 UNITED STATES OF AMERICA,                        )
                                                  )
                 Respondent.                      )
                                                  )

       THIS MATTER comes now before the Court upon Petitioner’s Motion to Appoint Counsel

and Motion for Relief from Judgement (Doc. No. 369, Case No. 3:94-CR-00017-FDW-11; Doc. No.

1, Case No. 3:07-CV-458-FDW). Petitioner’s Motion, although styled under Federal Rule of Civil

Procedure 60(b), is in actuality yet another motion pursuant to 28 U.S.C. § 2255. The Court will

therefore construe it as such and the Clerk has assigned a new civil case number to Petitioner’s

motion. In his most current motion, Petitioner seeks to have this Court set aside its earlier ruling

denying his § 2255 motion and then renews his ineffective assistance of counsel arguments. For

reasons stated in its Order denying Petitioner’s previous successive § 2255 motion (Doc. No. 368,

Case No. 3:94-CR-00017-FDW-11), Petitioner’s Motion is DENIED.

       The Court similarly denies Petitioner’s Motion to Appoint Counsel, finding, after reviewing

the record and Petitioner’s renewed motion, that Petitioner’s claim is without merit and would not

benefit from further argumentation. See U.S. v. Melvin, No. 06-6833, 2007 WL 1978221 at *1 (4th

Cir. July 6, 2007).




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       For the foregoing reasons, Petitioner’s Motion to Appoint Counsel and Motion for Relief

from Judgement is construed as yet another successive § 2255 motion and is hereby DENIED.

       IT IS SO ORDERED.                      Signed: October 29, 2007




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